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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

Howard Cohan,                                 )
                                              )
       Plaintiff,                             )              Case No. 16-cv-2003
                                              )
vs.                                           )              Hon. Judge Sharon J. Coleman
                                              )
Cedar Hotel LP 1401, d/b/a                    )
Country Inn & Suites Schaumburg,              )
                                              )
       Defendant(s).                          )


      PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

       Plaintiff, HOWARD COHAN, by and through his attorneys, hereby requests that this

Court make an Entry of an Order Dismissing the Action with prejudice, pursuant to Rule

41(a)(1)(A)(i), and in support of said motion states as follows:


       1. This matter was initiated by Plaintiff on February 5, 2016.

       2. Defendant has appeared through counsel but has not answered the Complaint and

           Defendant has not filed any counterclaims.

       3. At this time, all matters in controversy have been resolved.

       WHEREFORE, Plaintiff HOWARD COHAN, respectfully requests that this Honorable

Court enter an order voluntarily dismissing the matter with prejudice, and for any further relief

the Court deems just and fair.




Dated: 7-6-16                                         On Behalf of Plaintiff,


                                                      /s/ Ivo Tchernev
                                                      Ivo Tchernev, Esq.

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